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Dominic A. DELAURENTIS, JR.*

DAVID P. BRIGHAM ATTORNEYS AT LAW
ROBERT D. BROWN
JOHN A. TALVACCHIA* 10 E. CLEMENTS BRIDGE ROAD

RUNNEMEDE, NJ 08078
* Certified by the Supreme Court of
New Jersey as a Civil Trial Attorney

+ Of Counsel (856) 380-9200
FAX: (856) 939-1354
VISIT OUR WEB SITE: WWW.STAHL-DELAURENTIS.COM

email: dad3@sdnjlaw.com
Direct Dial (856) 402-2578
Assistant (856) 402-2565

October 7, 2019

The Honorable Zahid N. Quraishi
United States District Court

For the District of New Jersey
Trenton Vicinage

402 E. State Street

Trenton, NJ 08608

RE: Freeman v. St. Francis Medical Center
Docket # 3:18-cv-7802

Your Honor:

STAHL & DELAURENTIS, P.C.

SHARON K. GALPERN
BRYAN GASTER+
ERICA L. BUSCH

MICHAEL C. PACHOLSKI
Dominic A. DELAURENTIS HI

File No.: 18331

Enclosed please find a copy of the parties agreed upon Case Management Order pursuant
to the Case Management Conference held on October 7, 2019. Should the form of Order be
acceptable to Your Honor kindly enter same. Thank you for the Court’s time and attention.

Respectfully submitted,

   

DAD3/dph
Enclosure

ce: Michael Poreda, Esq. (w/encl)
Melissa Jennifer Brown, Esq. (w/encl)
Thomas M. Reardon, II, Esq. (w/encl)
H. Lockwood Miller, III, Esq. (w/encl)
